Case 2:25-cv-00241-BHS   Document 1-7   Filed 02/06/25   Page 1 of 4




                                                  2:25-cv-241
Case 2:25-cv-00241-BHS   Document 1-7   Filed 02/06/25   Page 2 of 4
         Case 2:25-cv-00241-BHS        Document 1-7      Filed 02/06/25     Page 3 of 4


                                          EXHIBIT A



Counsel for Plaintiffs                                   Counsel for Plaintiffs

Sasha Buchert (pro hac vice forthcoming)                 Sarah Warbelow (pro hac vice forthcoming)
Lambda Legal Defense and Education Fund, Inc.            Cynthia Weaver (pro hac vice forthcoming)
815 16th St. NW, Suite 4140                              Ami Patel (pro hac vice forthcoming)
Washington, DC 20006                                     Human Rights Campaign Foundation
Telephone: 202.804.6245                                  1640 Rhode Island Ave. N.W.
Facsimile: 855.535.2236                                  Washington, DC 20036
Email: SBuchert@lambdalegal.org                          Telephone: 202.527.3669
                                                         Facsimile: 202.347.5323
Jennifer C. Pizer (pro hac vice forthcoming)             Email: Sarah.Warbelow@hrc.org
Lambda Legal Defense and Education Fund, Inc.            Email: Cynthia.Weaver@hrc.org
800 South Figueroa Street, Suite 1260                    Email: Ami.Patel@hrc.org
Los Angeles, CA 90017
Telephone: 213.382.7600
Facsimile: 855.535.2236
Email: JPizer@lambdalegal.org

Camilla B. Taylor (pro hac vice forthcoming)
Kenneth Dale Upton, Jr. (pro hac vice forthcoming)
Lambda Legal Defense and Education Fund, Inc.
3656 N Halsted St.
Chicago, IL 60613
Telephone: 312.663.4413
Facsimile: 855.535.2236
Email: CTaylor@lambdalegal.org
Email: KUpton@lambdalegal.org

Omar Gonzalez-Pagan (pro hac vice forthcoming)
Lambda Legal Defense and Education Fund, Inc.
120 Wall Street, 19th Floor
New York, NY. 10005-3919
Telephone: 212.809.8585
Facsimile: 855.535.2236
Email: OGonzalez-Pagan@lambdalegal.org

Kell Olson (pro hac vice forthcoming)
Lambda Legal Defense and Education Fund, Inc.
3849 E Broadway Blvd, #136
Tucson, AZ 85716
Telephone: 323.370.6915
Facsimile: 855.535.2236
Email: KOlson@lambdalegal.org
                                           Page 1 of 2
         Case 2:25-cv-00241-BHS        Document 1-7      Filed 02/06/25   Page 4 of 4




Counsel for Plaintiffs

Matthew P. Gordon, WSBA No. 41128
Abdul Kallon, WSBA No. 60719
Perkins Coie LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Telephone: 206.359.8000
Facsimile: 206.359.9000
Email: MGordon@perkinscoie.com
Email: AKallon@perkinscoie.com

Danielle Sivalingam (pro hac vice forthcoming)
Perkins Coie LLP
505 Howard Street, Suite 1000
San Francisco, CA 94105-3204
Telephone: 415.344.7000
Facsimile: 415.344.7050
Email: DSivalingam@perkinscoie.com

Mary Grace Thurmon (pro hac vice forthcoming)
Bo Yan Moran (pro hac vice forthcoming)
Perkins Coie LLP
3150 Porter Drive
Palo Alto, CA 94304-1212
Telephone: 650.838.4300
Facsimile: 650.838.4350
Email: MThurmon@perkinscoie.com
Email: BMoran@perkinscoie.com

Gabriella Romanos Abihabib (pro hac vice forthcoming)
Perkins Coie LLP
1155 Avenue of the Americas, 22nd Floor
New York, NY 10036-2711
Telephone: 212.262.6900
Facsimile: 212.977.1649
Email: GRomanos@perkinscoie.com




                                           Page 2 of 2
